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- and -

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Attorneys for Nobuaki Kobayashi,
Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

          BAKER & MCKENZIE LLP’S MOTION TO WITHDRAW AS COUNSEL
                     TO THE FOREIGN REPRESENTATIVE

          Baker & McKenzie LLP (“B&M”) hereby files this motion (the “Motion”) to withdraw

as counsel to Nobuaki Kobayashi (the “Foreign Representative”), in his capacity as Bankruptcy



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Trustee and Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”),

seeking entry of an order, substantially in the form attached hereto as Exhibit A. In support of

the Motion, B&M respectfully states as follows:

       1.      This Motion is unopposed.

       2.      By this Motion, B&M seeks entry of an order authorizing B&M to withdraw as

counsel to the Foreign Representative in this chapter 15 case.

       3.      The Foreign Representative will continue to be represented in this chapter 15 case

by the attorneys whose names are set forth below:

        David J. Molton                             Marcus A. Helt
        Daniel J. Saval                             Thomas Scannell
        BROWN RUDNICK LLP                           GARDERE WYNN SEWELL LLP
        Seven Times Square                          1601 Elm Street, Suite 3000
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        Email: dmolton@brownrusnick.com             Email: tscannell@gardere.com


       4.      Each of the foregoing attorneys has filed a notice of appearance in this chapter 15

case on behalf of the Foreign Representative. See Dkt. Nos. 102, 103, 104, 105.

       5.      This Motion is based on good cause that following the transition of the Debtor’s

foreign proceeding in the Twentieth Civil Division of the Tokyo District Court, Japan, from a

civil rehabilitation proceeding to a bankruptcy proceeding, Mr. Kobayashi was appointed as the

Debtor’s Foreign Representative, replacing Mr. Robert Marie Mark Karpeles.

       6.      No party will be prejudiced by the relief sought in this Motion.

       7.      Approval of B&M’s withdrawal as counsel to the Foreign Representative is not

sought for delay but so that justice may be done.




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                                             Prayer

       WHEREFORE, Baker & McKenzie LLP respectfully requests that the Court grant this

Motion and enter an order substantially in the form attached hereto as Exhibit A, authorizing

withdrawal of Baker & McKenzie LLP as counsel to the Foreign Representative and granting

such other and further relief as the Court deems proper.

Dated: May 2, 2014                           Respectfully submitted,
       Dallas, Texas
                                             BAKER & McKENZIE LLP

                                             By: /s/ David W. Parham
                                                 David W. Parham
                                                 State Bar No. 15459500
                                                 John Mitchell
                                                 State Bar No. 24056313
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                                                   - and –

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                                                   Email: erin.broderick@bakermckenzie.com

                                                   Attorneys for Nobuaki Kobayashi,
                                                   Bankruptcy Trustee and Foreign
                                                   Representative of MtGox Co., Ltd., a/k/a
                                                   MtGox KK




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                                CERTIFICATE OF SERVICE

        This is to certify that on May 2, 2014, a copy of the foregoing document was served on
the parties registered to receive electronic notification via the Electronic Case Filing System for
the United States Bankruptcy Court for the Northern District of Texas, and via United States first
class mail, postage pre-paid to the parties listed below:

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Chicago, IL 60654                                                     Chicago, IL 60654
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                                  San Francisco, CA 94105-2383        Chicago, IL 60654
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Josephine Garrett, P.C.           U.S. Trustee                        6-28-3302, Aobadai 3-chome,
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Fort Worth, TX 76107              1100 Commerce Street                Tokyo, Japan
                                  Dallas, TX 75242
Megan Lindsey                     MtGox, Co. Ltd. a/k/a MtGox         Robin E. Phelan
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Steven L. Woodrow                 D Honorable
                                  The   i MI 48226Jeh Johnson         David J. Molton
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                                                     /s/ David W. Parham
                                                     David W. Parham


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                                                      Exhibit A




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

       ORDER GRANTING BAKER & MCKENZIE LLP’S MOTION TO WITHDRAW
               AS COUNSEL TO THE FOREIGN REPRESENTATIVE

           Upon the motion of Baker & McKenzie LLP, seeking authorization to withdraw as

counsel to the Foreign Representative 1 [Dkt. No. ___]; and the Court having determined that the

relief requested in the Motion is in the best interests of the Debtor, its estate, its creditors, and

other parties in interest; and it appearing that proper and adequate notice of the Motion has been

given and that no other or further notice is necessary; and upon the record herein; and after due

deliberation thereon; and good and sufficient cause appearing therefor, it is hereby:


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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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ORDERED, ADJUDGED AND DECREED that:

          1.   The Motion is GRANTED.

          2.   Baker & McKenzie LLP is hereby withdrawn as counsel to the Foreign

Representative.

          3.   The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                  # # # END OF ORDER # # #

Prepared and submitted by:

BAKER & McKENZIE LLP

/s/ David W. Parham
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John Mitchell
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Rosa A. Shirley
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- and –

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Attorneys for Nobuaki Kobayashi,
Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK




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